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               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

SGCI Holdings III LLC, TEGNA Inc.,             )
 and CMG Media Corporation,                    )
                                  Appellants,  )
                                               )
                         v.                    )                   No. 23-1083
                                               )
Federal Communications Commission,             )
                                  Appellee.    )
______________________________________________)
                                               )
In re SGCI Holdings III LLC, TEGNA Inc.,       )
 and CMG Media Corporation,                    )
                                  Petitioners. )                   No. 23-1084
                                               )

              OPPOSITION TO EMERGENCY MOTION
                TO EXPEDITE AND CONSOLIDATE

      The Federal Communications Commission respectfully opposes the

emergency motion by SGCI Holdings III LLC, TEGNA Inc., and CMG

Media Corporation (collectively, “the broadcasters”) to consolidate the

appeal filed in No. 23-1083 with the mandamus petition filed in No. 23-

1084, and to expedite briefing of the appeal.1 There is no good reason for

the Court to consolidate or expedite the appeal with the mandamus

proceeding because the Court lacks jurisdiction over the appeal.



      1
        As the broadcasters indicate in their motion (at 5), the Commission
has agreed to expedited briefing in the mandamus proceeding in accordance
with the schedule set forth at page 4 of the motion.
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      As we explain in greater detail in our motion to dismiss in No. 23-

1083, the appeal should be dismissed for lack of jurisdiction for two reasons:

(1) the order on appeal is a Media Bureau order, not a decision or order of

the Commission within the meaning of 47 U.S.C. § 402(b); and (2) the order

does not constitute final agency action because it does not rule on the

broadcasters’ license transfer applications; it simply refers public interest

issues raised by those applications to an administrative law judge for further

inquiry.

      Given these jurisdictional deficiencies, the Court should deny the

motion to consolidate as well as the motion to expedite review of the appeal.

Instead, the Court should grant the Commission’s motion to dismiss the

appeal for lack of jurisdiction.




                                           2
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                                Respectfully submitted,


                                P. Michele Ellison
                                General Counsel


                                Jacob M. Lewis
                                Deputy General Counsel


                                /s/James M. Carr

                                James M. Carr
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March 29, 2023




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                                            /s/ James M. Carr

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                 CERTIFICATE OF FILING AND SERVICE

      I, James M. Carr, hereby certify that on March ൬൳, ൬൪൬൭, I filed the foregoing

Opposition to Emergency Motion to Expedite and Consolidate with the Clerk of the

Court for the United States Court of Appeals for the District of Columbia Circuit

using the electronic CM/ECF system. Participants in the case who are registered

CM/ECF users will be served by the CM/ECF system.

                                             /s/ James M. Carr

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